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                                                                                UNITED STATES DISTRICT COURT
                       Los Angeles, CA 90071




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                                                      15                      CENTRAL DISTRICT OF CALIFORNIA
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                                                           ACE GIFT & CRAFT (NINGBO) CO., ) Case No. 2:18-cv-07441
                                                      17   LTD.,                          )
                                                      18                                  ) PLAINTIFF’S CERTIFICATION OF
                                                                              Plaintiff,  ) INTERESTED PARTIES
                                                      19                                  )
                                                      20         vs.                      )
                                                                                          )
                                                      21   JOHN DOES 1-5,                 )
                                                      22                                  )
                                                                              Defendants. )
                                                      23                                  )
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                                                                              PLAINTIFF’S CERTIFICATION OF INTERESTED PARTIES
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                                                      1          PLEASE TAKE NOTICE that Plaintiff Ace Gift & Craft (Ningbo) Co., Ltd.
                                                      2    (“Plaintiff”) hereby provides this notice, as required by Local Rule 7.1-1, of any
                                                      3    known parties which may have a pecuniary interest in the outcome of the case.
                                                      4          The undersigned, counsel of record for Plaintiff, certifies that the following
                                                      5    listed parties may have a pecuniary interest in the outcome of this case. These
                                                      6    representations are made to enable the Court to evaluate possible disqualification or
                                                      7    recusal.
                                                      8          1.     Plaintiff Ace Gift & Craft (Ningbo) Co., Ltd.
                                                      9

                                                      10   Dated: August 24, 2018                       Respectfully submitted,
                                                      11                                                LOCKE LORD LLP
                                                      12
                 300 South Grand Avenue, Suite 2600




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                                                                                                        By: /s/ Jon L. Rewinski
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                                                      14                                                        Jon L. Rewinski
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                                                                                                        (Ningbo) Co., Ltd.
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                                                                               PLAINTIFF’S CERTIFICATION OF INTERESTED PARTIES
